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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

      IN RE: JOHNSON & JOHNSON                         MDL No. 2738 (FLW) (LHG)
      TALCUM POWDER PRODUCTS                           JUDGE FREDA L. WOLFSON
      MARKETING, SALES PRACTICES,                      MAG. JUDGE LOUIS H. GOODMAN
      AND PRODUCTS LIABILITY
      LITIGATION
                                                       CIVIL ACTION No. 3:21-cv-14274
      THIS DOCUMENT RELATES TO:


      SHARON MUELLER,


                                           NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that the Short Form Complaint and Jury Demand has been filed on July 28, 2021 on

    behalf of Plaintiff, Sharon Mueller.



   Dated: July 28, 2021                    Respectfully Submitted by:

                                                  By: /s/ Daniel J. Thornburgh
                                                  Daniel J. Thornburgh
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on July 28, 2021, a copy of the foregoing was filed electronically.

   Service of the filing will be made on all ECF-registered counsel by operation of the Court’s

   electronic system. Parties may access this filing through the court’s system.



   Dated: July 28, 2021                          Respectfully Submitted by:


                                                 By: /s/ Daniel J. Thornburgh
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